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Attorney for Plaintiff
IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF IDAHO
J.V., a minor
Case No.
Plaintiff
v. PLAINTIFF’S COMPLAINT
FOR DAMAGES AND DEMAND
KUNA SCHOOL DISTRICT, A PUBLIC FOR JURY TRIAL
CORPORATION
(This version not sealed; docketed
Defendant. in ECF )
SUMMARY ABSTRACT

 

COMES NOW, Plaintiff, J.V., a minor, by and through his attorney E. Lee Schlender and
brings this action against this Defendant alleging that:

Defendant was deliberately indifferent to an employee-on student sexual assault on and
off school premises of a mentally impaired child. Defendant’s failure to investigate and respond
to the grooming of the child by Melissa Whiteley an employee resulted in a several year sexual

affair while Plaintifl` was in the seventh, eighth and ninth grades, denying him a normal

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childhood and educational development This Violated Title IX of the Education Amendments of
1972, 20 U.S.C. § 1681(a); the protection of the Fourteenth Amendment to the U.S. Constitution
and statutes listed herein under the section entitled “APPLICABLE FEDERAL AND STATE
LAW”.

I. JURISDICTION AND VENUE

1. This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331, which
provides district courts jurisdiction over all civil actions arising under the Constitution and laws
of the United States.

2. This Court also has jurisdiction pursuant to 28 U.S.C. § 1343, which gives district
courts original jurisdiction over (a) any civil action authorized by law to be brought by any
person to redress the deprivation, under color of any State Law, statute, ordinance, regulation,
custom or usage, of any right, privilege or immunity secured by the Constitution of the United
States or by any Act of Congress providing for equal rights of citizens or of all persons within
the jurisdiction of the United States; and (b) any civil action to recover damages or to secure
equitable relief under any Act of Congress providing for the protection of the civil rights.

3. Plaintiff brings this action to redress a hostile educational environment pursuant
to Title IX of the Education Amendments of 1972, 20 U.S.C. § 1681(a), as more fully set forth
herein.

4. This is also an action to redress the deprivation of Plaintift’s constitutional rights
under the Fourteenth Amendment of the United States Constitution pursuant to 42 U.S.C. §
1983.

5. Venue is proper in this district pursuant to 28 U.S.C. § 139l(b); the Defendant
resides and is a citizen of this judicial district and the events giving rise to Plaintiff’s claims
occurred in this judicial district.

II. PARTIES

6. Plaintiff is a male and was a minor at all times relevant While attending the Kuna
schools, the Plaintiff was assigned staff to assist him in his grade and high school classes through
a program known as Individualized Education Program or “IEP” which is ftmded in whole or in
part, by the federal government and administered by the State of Idaho, pursuant to 20 U.S.C.
§1401(14).

7. Plaintitf, from the first grade to present, was and is considered to have a mental

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learning disorder sufficient for eligibility for federally financed programs for disabled and/or

mentally challenged students needing specialized assistance to attend a stande school such as
the Kuna School Distn'ct.

8. At all times Plaintiff was a resident and a citizen of Ada County, living in the city
of Kuna, State of Idaho.
9. At the times of events described herein, Plaintiff was a student attending middle

school and high school within the Kuna School District (“District”).

10. The Defendant, District, is a public educational institution and political
corporation doing business in the County of Ada, State of Idaho.

ll. Melissa Whiteley an adult female was a district middle school employee and
office staff member residing in Ada County. The entire office staff including the principal had
actual knowledge horn observation and discussion of Whiteley grooming Plaintiff with sexual
contact in 2015, 2016 and 2017. Whiteley acted under the color of law and she along with other
supervisory personal with desks in the common staff areas had authority to take corrective action
and had actual notice of wrong doing under 42 USC §1983, and yet all including Whiteley, were
deliberately indifferent to the wrong doing. Whiteley groomed Plaintiff, a minor, for her sexual
gratification using her position of power do to so while he was in middle school and thereafter
high school.

12. The District was and is responsible for all conduct of its agents and employees
with respect to the attendance of Plaintiff at school in the District. The District had a duty not to

expose an impaired child to dangers that they otherwise would not have faced.

III. APPLICABLE FEDERAL AND STATE LAW
13. All claims of liability and damages are recognized in codified state and federal
statutes applicable to all citizens and residents of the State of Idaho, including Plaintiff, with
respect to the causes of action for relief as stated herein, Pertinent laws of the State of` Idaho and

the United States are included and referenced in the following statutes and constitutional

provisions:
A. I.C. §18-8301 et seq.
B. I.C. Title 16, Chapter 16 and I.D.A.P.A. 08.02.03.160
C. I.C. § 18-917 et seq. including but not limited to §18-917A;
D. I.C. §67-5909 et seq and I.D.A.P.A. 08.02.03.160

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E. I.C. §18-917A

F. 20 U.S.C. §1681 et seq. Title IX of the Educational Amendments, I.D.A.P.A.
08.02.03.160

G. I.C. §16-1619.

H. Title VII of the Civil Rights Act of 1964, 65, 42 U.S.C. 200E-2(a);

I. Title VI of the Civil Rights Act of 1964

J. §1981 ofthe Civil Rights Act of 1866 and 1871; 42 U.S.C. §1981.

K. Americans With Disabilities Act; 42 USC § 12101.

L. Civil Rights Act of 1871, 42 U.S.C. §1983

M. I.C. §33-512(4)

N. I.C. §18-1501

O. All applicable provisions of the Civil Rights Acts of the State of Idaho and the
United States of America, including those as stated in §1983 of the 1871 Civil
Rights Act.

P. 14th Amendment of the United States Constitution for deprivation of property and

life without due process of law.

Q. Implied deliberate indifference to a known duty under Title IV of the Safe and
Drug Free Schools Act and related statutory and Constitutional provisions of the
United States and the State of Idaho.

R. Title IX of the Education Amendments of the 1972 (Title IX, 20 U.S.C. §1681 et

seq.)

Title II of the Americans With Disabilities Act

T. Public Law ll4-95-December 10, 2015.

U. Each and every law, codes or statutes of the State of Idaho and/or the United
States of America as cited and set forth in this complaint, including those
referenced in every other title, cause of action or count of this complaint

F/’

IV. FOUNDATIONAL FACTS

14. The betrayal of Plaintiff` started in 2015 while he was a student at Kuna Middle
School. Whiteley began grooming J.V. for sexual contact; they eventually had sexual intercourse
while J.V. was a student.

15. Factual circumstances establishing that the district by and through its employees
had personal knowledge of Whiteley grooming J.V. for sexual contact included:

(a) Whiteley had a desk and offices in a common main area of the Kuna
Middle School, with adjacent offices with windows for various senior members of the
administrative staff including the superintendent and principal.

(b) Innumerable times J.V. would come into the common office area with

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desks for the principal, superintendent and the Dean of Students. He had no educational
reason to loiter at Whiteley’s desk. They would share intimate, whispered conversations
with occasional physical contact. At various times one or more of the staff in the office
area made comments to J.V. such as “she is way too old for you” and to Whiteley and
J.V.; “you two shouldn’t be flirting so much here in the office”.

(c) At least one school district teacher who had J.V. in a class was aware he
would leave her classroom for the known reason of going to the common office and
fraternize with Whiteley. It was known in the school that Whiteley and J.V. were
intimate by reason of their aberrant behavior; the Defendant, its employees,
administrators and personnel disregarded the public, obvious and glaring red flags that
Whiteley could be or was a sexual predator; they allowed the constant contact in the
office complex without voicing disapproval and to the contrary, making coy chiding
remarks

(d) During 2015, 2016 and thereafter in 2017 when J.V. moved to the high
school Whiteley continued grooming J.V. with telephone text messages and nude photos.

(e) District employees should have exercised their authority under established
policies and procedures to intervene and stop Whiteley’s manipulation and grooming
which took root and flourished. They were in charge of protecting Plaintiff and ignored
the standard of care required by knowing and allowing the close and intimate conduct
Had proper investigation and reporting taken place both as regular employees and as per
Title IX mandates, Plaintiff would not have been subjected to Whiteley’s manipulation
and ultimate sexual relationship The Defendant owed Plaintiff a duty to protect him and
ensure that he was properly treated and educated.

(f) It was not until Whiteley, by phone texting and coming to J.V.’s home in
her automobile to pick him up at night that J.V.’s mother became aware and alarmed; by
discussions with J.V. as well as with Whiteley, she gained sufficient knowledge of the
sexual relationship to notify the Ada County Sheriff’s office which commenced an
investigation during the first week of November 2017 and took J.V.’s phone as well as
other items including a recording that J.V.’s mother had made of a conversation between
herself and Whiteley.

(g) Only after being prompted by the investigation by the Sheriff’s office did

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school officials commence and investigation of their own. They then terminated Whiteley
from employment but it was three years too late.

(h) J.V.’s family is still learning about and uncovering the extent of the
relationship, understanding the traumatic bonds that sexual abuse creates, especially
between a minor teenager and an adult employee of the school district

(i) The Defendant, acting or failing to act through its agents and employees,
manifested deliberate indifference and reckless disregard to Plaintiff’s statutory and
constitutional rights.

V. CAUSES OF ACTION

CoUNT 1
vioLATIoN oF CIVIL RiGHTs
BY KUNA scHooL DISTRICT
(42 Usc § 1983)

16. Based on the foregoing statements, Defendant Kuna School District is liable for
compensatory and punitive damages for their creation of the actual, particularized danger that
Plaintiif, J.V. would be sexually groomed and assaulted, done deliberately or with deliberate
indifference toward his safety and well-being in conduct that shocks the conscious. Such
conduct includes Whiteley’s intentional sexual battery and Defendant’s failure to protect
Plaintiff from the sexual abuse and exploitation while he was attending school. The grooming
was so intentional, open and obvious that an immediate investigation should have been
undertaken; proper reporting should have been done to state and other authorities; and, Whiteley
should have been terminated and removed from all school property. That did not happen. The
acts and failure to act were a violation of the Equal Protection Clause/Equal Educational
Opportunities Act of 1974; Violation of Title IX of the Education Amendments of the 1972
(Title IX, 20 U.S.C. §1681 et seq.); Violation of Section 504 of the Rehabilitation Act of 1973 as
amended.

COUNT II
DENIAL OF EQUAL PROTECTION (42 U.S.C. SEC.1983)
INDIVIDUAL AND MONELL LIABILITY; VIOLATION
OF TITLE IX OF TIHE EDUCATION AMENDMENTS OF THE
1972 TITLE IX, 20 U.S.C. §1681 ET SEQ.) BY SEXUAL ASSAULT

17. The Defendant violated the Equal Protection Clause and the Due Process Clause
of the 14th Amendment of the United States Constitution in their deliberate indifference to the

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treatment of the Plaintiff by Whiteley.

18. The Plaintiff’s mental and learning disability was known to the Defendant and he
constituted an identifiable class of such persons. The District received federal funds to help
protect Plaintiff. The District, its agents and employees in their individual and representative
capacities, acted with deliberate indifference to the humiliation, mental and physical abuse and
mistreatment of the Plaintiff and caused him to be sexually abused. The District deprived the
Plaintiff of his liberty and property interests under the Due Process Clause of the United States
Constitution and the District’S response to the sexual abuse shocks the conscious and tramples on
the Plaintiff’s rights that are implicit in the concept of ordered liberty.

19. The deliberate indifference and negligent actions of these Defendants exposed the
Plaintiff to harm from Whiteley on school property and while attending and participating in
official school activities. At all times before, during and after these events, the Defendant was
acting under color of state law.

20. The Defendant had policy-making authority and by not acting to protect the
Plaintiff they permitted, endorsed and ratified the sexual grooming and assault on Plaintiff.

21. The Defendant’s failed to adequately train employees to recognize, anticipate and
prevent sexual abuse and deprivation of rights suffered by the Plaintiff and they were
deliberately indifferent to the obvious consequences of failure to train employees and educate
students adequately thereby depriving the Plaintiff of his rights.

22. As a result of the actions and omissions of the Defendants herein the Plaintiff has
suffered damages in an amount to be proved at trial.

23. Based on the paragraphs set forth and alleged above, the District is liable for
compensatory and punitive damages for its actions in failing to promulgate, issue, and enforce
appropriate procedures and policies, including but not limited to (l) the reporting of known or
suspected sexual abuse of Plaintiff, (2) the safe education of its students that was free from
sexual abuse and exploitation, and (3) the reporting of a known sexual predator who preyed on
young male students, the failure of which was done in deliberate indifference to Plaintiff and
other students’ wellbeing and safety, as well as for its actions in failing to adequately train,
monitor, or supervise its administrators, staff, and teachers to ensure the safety of students free
from sexual exploitation, including Plaintiff, all in violation of the Ninth and Fotu'teenth
Amendments and 42 USC § 1983.

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COUNT III
VIOLATION OF TITLE IX
(20 U.S.C. § 1681, et seq.)

24. Based on the paragraphs set forth and alleged above, the District is liable for
compensatory and punitive damages for its actions in creating and/or subjugating Plaintiff to a
hostile educational environment in violation of Title IX of the Education Amendments of 1972,
20 U.S.C. § 1681(a) (“Title IX”), when the District and its officials had actual knowledge of the
sexual assaults by Whiteley created by its failure to supervise Whiteley and to protect the
children when the District and its officials knew or should have known that Whiteley was a
sexual predator who preyed on young male students. The District and its officials failed to take
immediate, effective remedial steps to prevent the sexual abuse and instead acted with deliberate
indifference toward Plaintiff and other similarly situated students, the result of which was a
violation of Title IX.

COUNT IV
CONCEALMENT BY THE DISTRICT
(FEDERAL COMMON LAW)

25. Based on the paragraphs set forth and alleged above, the Defendant had a special
relationship with Plaintiff and his parents; they concealed material facts in bad faith that the
minor child had a legal claim against Defendant for the harm he suffered, including but not
limited to claims under 42 U.S.C. § 1983 and 20 U.S.C. § 1681, et seq.

VI. RESERVATION OF RIGHTS

26. Plaintiff reserves the right to assert additional claims as may be appropriate

following further investigation and discovery.
VII. JURY DEMAND

27. Under the Federal Rules of Civil Procedure, Plaintiff demands that this action be

tried before a jury.
VIII. PRAYER FOR RELIEF
Plaintiff respectfully requests the following relief:
A. That the Court award Plaintiff appropriate relief, to include all special and general

damages established at trial in a sum not less than two million dollars;

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B. That the Court impose punitive damages under any provision of law under which
punitive damages may be imposed;

C. That the Court award costs, reasonable attorneys’ fees, and statutory interest
under any applicable law or ground in equity, including 42 U.S.C. § 1988 and all other
applicable bases for an award of attomeys’ fees and litigation costs;

D. That the Court award pre-judgment interest on items of special damages;

E. That the Court award post-judgment interest;

F. That the Court award Plaintiff such other, favorable relief as may be available and

appropriate under law or at equity,

   
 
 

RESPECTFULLY SUBMITTED ON TH AY OF JANUARY 2017.

 

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jimada,
Att ey for Plaintiff J.V.

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